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 1   KRESTA NORA DALY, SBN 199689
     Rothschild Wishek & Sands, LLP
 2   901 F Street, Suite 200
 3   Sacramento, CA 95814

 4   Attorney for Ahmed Chartaev
 5
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                  ) Case No.: 2:11-CR-00514-GEB
                                                )
10                Plaintiff,                    ) STIPULATION AND ORDER
                                                )
11       v.                                     ) JUDGE: HON. GARLAND E, BURRELL
     AHMED CHARTAEV,                            )
12   KHADZHIMURAD BABATOV,                      )
     ROMAN MALAKHOV,                            )
13   SERGEY SHCHIRSKIY,                         )
     ANDREY KIM,                                )
14   MAGOMED ABDUKHALIKOV                       )
                                                )
15                Defendant.                    )
                                                )
16
17
           It is hereby stipulated and agreed to between the United States of America through
18   Dominique Thomas, Assistant U.S. Attorney, and defendant, Ahmed Chartaev, through
19   his counsel, KRESTA DALY, defendant Khadzhimurad Babatov, through his attorney
20   David Fischer1, defendant Roman Malakhov, through his attorney Chris Cosca, defendant
21   Sergey Shchirskiy, through his attorney Danny Brace, defendant Andrey Kim, through
22   his attorney Kyle Knapp, and defendant Magomed Abdukhalikov, through his attorney
23   Preeti Bajwa, that the status conference of December 23, 2011 be vacated and that a
24   status conference be set for January 20, 2012 at 9:00 a.m.
25         This continuance is being requested because the defense is awaiting receipt of the
26   discovery in this matter which is anticipated to be voluminous.
27
     1
28    John Duree is seeking to substitute in for David Fischer as counsel for Khadzhimurad
     Babatov. Mr. Duree has been contacted regarding this new date and is in agreement.
                                                 1
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 1         The parties request that speedy trial time be excluded from the date of this order
 2   through the date of the status conference set for January 20, 2012 pursuant to 18 U.S.C.
 3   §§ 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).
 4   DATED: December 19, 2011                 Respectfully submitted,
 5                                             s/Kresta Daly_____________
                                              KRESTA DALY
 6                                            Attorney for Ahmed Chartaev
 7                                             s/Kresta Daly_____________
     DATED: December 19, 2011                 John Duree
 8                                            Attorney for Khadzhimurad Babatov
 9
                                               s/Kresta Daly_____________
10   DATED: December 19, 2011                 Chris Cosca
                                              Attorney for Roman Malakhov
11
                                               s/Kresta Daly_____________
12   DATED: December 19, 2011                 Danny Brace
13                                            Attorney for Sergey Shchirskiy

14                                             s/Kresta Daly_____________
     DATED: December 19, 2011                 Kyle Knapp
15                                            Attorney for Andrey Kim
16                                             s/Kresta Daly_____________
17   DATED: December 19, 2011                 Preeti Bajwa
                                              Attorney for Magomed Abdukhalikov
18
                                               s/Kresta Daly_____________
19   DATED: December 19, 2011                 Dominique Thomas
                                              Assistant United States Attorney
20
21                                          ORDER
22
           IT IS SO ORDERED.
23
     12/21/11
24
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26                                           GARLAND E. BURRELL, JR.
                                             United States District Judge
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